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13

14                               UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16

17   JUAN ALCAZAR, individually and on behalf of       Case No. 4:20-cv-01434-JST
     all others similarly situated.,
18                                                     Assigned to Hon. Jon S. Tigar
                   Plaintiff,
19                                                     DECLARATION OF RICKY CHANDNANI
            v.                                         IN SUPPORT OF DEFENDANT FASHION
20                                                     NOVA, INC.’S NOTICE OF MOTION AND
     FASHION NOVA, INC., a California                  MOTION TO EXCLUDE, OR
21   Corporation, and DOES 1 to 10, inclusive,         ALTERNATIVELY, TO LIMIT, THE
                                                       EVIDENCE, TESTIMONY, AND/OR
22                 Defendants.                         ARGUMENT RE: EXPERT OPINIONS OF
                                                       ROBERT MOODY
23
                                                       Hearing Date:    January 4, 2024
24                                                     Trial Date:      April 8, 2024
                                                       Complaint Filed: February 26, 2020
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                                                                            Case No. 4:20-cv-01434-JST
      DECLARATION OF RICKY CHANDNANI ISO DEFENDANT’S MOTION TO EXCLUDE EXPERT OPINIONS OF ROBERT MOODY
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1            I, Ricky Chandnani, hereby declare and state:

2            1.     I am the Chief Financial Officer of FASHION NOVA, INC., Defendant in the

3    above-captioned matter. I am filing this declaration in support of Defendant’s Motion to Exclude,

4    or Alternatively, to Limit, the Evidence, Testimony, and/or Argument re Expert Opinions of

5    Robert Moody. Except where otherwise indicated, all the information contained herein is based

6    upon my personal knowledge and if called and sworn as a witness, I could and would competently

7    testify thereto.

8            2.     As Chief Financial Officer, I am familiar with all of Fashion Nova’s locations, its

9    advertising, and where its merchandise is primarily sold and located. I have held the position of

10   Chief Financial Officer since June 2021.

11           3.     Fashion Nova is an online retailer that primarily sells women’s clothing, shoes, and

12   other accessories.

13           4.     Fashion Nova has five brick-and-mortar stores—all in Southern California—in

14   Burbank, Montebello, Northridge, Panorama City, and Los Angeles.

15           5.     The hours of the five retail stores are not listed on Fashion Nova’s website.

16           6.     Fashion Nova’s website does not contain a “store locator” function that enables a

17   customer to search for nearby stores. Instead, the five store addresses are listed on a page on the

18   website. See https://www.fashionnova.com/pages/locations.

19           7.     The merchandise available in Fashion Nova’s physical stores is available online;

20   however only a small percentage of SKUs available online is also available in Fashion Nova’s

21   physical stores. For example, in October 2023, only 3.8% of SKUs available online were also

22   available in Fashion Nova’s physical stores.

23           8.     Fashion Nova does not offer online customers the option of in-store pickup for

24   online merchandise purchases.

25           9.     Fashion Nova does not sell or advertise merchandise from its physical locations with

26   coupons or promotions on its website. The promotions and pricing for the physical location and

27   website are typically different.

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